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                            EXHIBIT 7
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                                                                                       888 16th Street NW
                                                                                       Suite 300
                                                                                       Washington DC 20006




March 22, 2022

VIA EMAIL

Elena M. Zarabozo
O’Melveny & Myers LLP
1625 Eye Street, NW
Washington, DC 20006
ezarabozo@omm.com


Counsel:

Plaintiffs write regarding DIRECTV’s privilege log produced on February 18, 2022. This letter is made
pursuant to Local Rule 37‐1 of the United States District Court for the Central District of California.
Plaintiffs propose a meet and confer on March 28, 2022, at 2:30 p.m. EST to discuss the issues outlined
in this letter. If that date and time does not work, please provide an alternative within the timeframe
provided by Local Rule 37‐1.

Plaintiffs’ review of your privilege log of nearly 30,000 entries has been hampered by significant facial
deficiencies and inconsistencies that we request be corrected as expeditiously as possible. Please
provide an amended privilege log by no later than April 5, 2022 so that Plaintiffs can avoid further
prejudice and commence with a thorough review of the entries contained in the privilege log.

I.       Key of Individuals Contained in Privilege Log

As an initial matter, Plaintiffs request that DIRECTV promptly provide a key of each author and recipient
of a document found throughout privilege log. For the individuals that you include in such a key, please
include their name, their position(s), and the dates they held the positions you identify. For any outside
counsel, please identify which firm the attorney is associated with.1 See A. Farber and Partners, Inc. v.
Garber, 234 F.R.D. 186, 195 n.5 (C.D. Cal. 2006) (finding that the “Model Form 11:A, set forth in The

1
  DIRECTV’s privilege log includes, for some entries, the law firms of the named outside counsel (see, e.g. DIRECTV‐PRIV‐
0020084), but not for most (see, e.g. DIRECTV‐PRIV‐0004743; DIRECTV‐PRIV‐0018909). Identifying which firms are
associated with certain outside counsel helps eliminate any confusion about the source of privilege; for example, you
reference Sam Sadighi as outside counsel in DIRECTV‐PRIV‐0001856, but in the entry immediately before you refer to him
as in‐house counsel (DIRECTV‐PRIV‐0001855). The same is true for Clayton Friedman, who you identify as in‐house counsel
in DIRECTV‐PRIV‐0026818, and then in the very next entry refer to him as outside counsel (DIRECTV‐PRIV‐0026819). It also
appears you misidentify Paul Glist as in‐house counsel (DIRECTV‐PRIV‐0017141) when our research reflects that he was only
associated with the law firm Davis, Wright & Tremaine (see, e.g., DIRECTV‐ST‐02176320).
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SAN FRANCISCO | STOCKHOLM | WASHINGTON, DC
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Rutter Group Practice Guide, Federal Civil Procedure Before Trial, correctly and adequately lists all the
information that should be set forth on the privilege log, including the title or position of the author and
recipient of the document.”).

There appear to be over 200 unique names identified as attorneys in your privilege log entries and no
reference as to what specific role or function these individuals had. Simply providing names of these
individuals requires Plaintiffs to guess who the referenced individual is and whether that individual is, in
fact, an attorney and had a legal role within DIRECTV. In other words, Plaintiffs are unable to assess your
claims of privilege without understanding who the individuals are that you claim are attorneys.

Plaintiffs request for such a key is further warranted because, based on our review, several individuals
that you identify as attorneys are individuals we could not find information about or are simply not
attorneys, including but not limited to the following individuals:

          Shoshana Riss                             Gloria Panduro                            Raymond Riedy
          John A. Ward                              Ryan A. William                           Vanessa Rodriguez
          Teri Galloway                             Lizet Castro                              Kamilah Jackson
          Kevin Smith                               Jim Thomas                                Nicole Martin
          John A. White                             William Paley                             Melissa Maalouf
          Victoria Chenault                         William A. Fischer                        Candace Leung
          Carol Payne                               Charles Miller                            Christie M. Villareal
          Christopher Jackson                       Evan Turner                               James Thomas
          Jennifer Kay                              Kevin Smith                               Lydia Ancilla
          Megan McNulty                             Paul Swanson                              Rebecca Huntsman
          Ronald Coslick                            Sophia Yen                                Stacey Fowler
          Stephanie Schmidt                         Stephanie Schultz                         Stephen Miller
          Suzanne C. Leslie                         April L. Ammeter Esq.                     Christina Morris
          J. Culver Lee                             Josh Zarrow                               Kip Edenfield Jr.
          Daretia Austin‐Bonesso                    David Britton                             David J. Cho

          David Smutny                              David Tamera                              Heather Randall
          Larry Hunter                              Mike D. White                             Paul Weisbecker
          Ramiz Rafeedie                            Rebecca Hunsman

Additionally, through a combination of internet searches and review of the documents, 2 Plaintiffs believe
that several of the individuals you represent in your privilege log as being attorneys or in‐house counsel
are not, in fact, attorneys. These individuals include, but are not limited to:

2
 Plaintiffs should not need to consult internet searches to test the veracity of the claims in your privilege log or to assess
your assertions of privilege. The burden is on DIRECTV to demonstrate the privileged status for each document it intends to
withhold.
                                                              2
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         Kamilah Jackson: Represented as Kamilah Jackson, Esq. (see, e.g., DIRECTV‐PRIV‐0005680), but
          appears to be a Director of Video Strategy (https://www.linkedin.com/in/kamilah‐jackson‐
          5467513).
         Ashley Rogers: Represented as Ashley Rogers, Esq. (DIRECTV‐PRIV‐0016873), but appears to be
          a Senior Marketing Database Manager (see, e.g., DIRECTV‐ST‐01496716).
         Raymond Riedy: Represented as Raymond Riedy, Esq. (see, e.g., DIRECTV‐PRIV‐0001509), but
          does not appear to be an attorney or provide any legal advice (see, e.g.,
          https://www.linkedin.com/in/rayriedy).
         Amy Cruz: Represented as Amy Cruz, Esq., but appears to be a “senior sourcing specialist” with
          no legal role (see, e.g., DIRECTV‐ST‐023908343).

In addition, there are several seemingly misspelled names which cause Plaintiffs to question whether an
individual’s name is unintentionally misspelled or whether the alternate spelling represents a separate
person. These instances include, but are not limited to:

                 Name                             Alternate Spelling                   Second Alternate Spelling

    Brooke E. Mallette                    Brooke M. Mallette                       Mallette E. Brooke

    Gloria Franke Shaw                    Gloria Frankie Shaw                      Gloria Frankel Shaw

    Luis Montes Morales                   Luis Morales Montes                      Luis Montez

    Viviana A. Betancourt                 Viviana M. Betancourt                    Vivian Betancourt

    Shoshana Riss                         Shoshona Rises                           Rises Shoshana


    Gloria Panduro                        Gloria Pandura

    James Meza                            James Mezza

    Jaime Mata                            Jamie Mata

    Katherine Nelson                      Kathleen Nelson

    Lusha Weston                          Lysha Weston



3
 Furthermore, it is unclear what privilege is being asserted in the document DIRECTV‐ST‐02390834, which is an email and
attachment that is being sent to a third‐party marketing firm.
                                                            3
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 Stevie Pyon                         Steve Pyon

 Randi Mauer                         Randi Maurer

 Ryan A William                      William A. Ryan

 Andrew Hale                         Hale Andrew

 Christina Roig                      Christina Roig Morris

 Evan Hunter                         Evan Turner

 Joshua A. Zarrow                    Joshua D. Zarrow

 Mert Simons                         Mert Simons Jr.

 Mike A. White                       Mike D. White


Given that DIRECTV is a large company with operations worldwide, and that documents have been
produced spanning many years, it is possible that DIRECTV/AT&T would have employed people with very
similar names. While the close spelling of some of these names may suggest that your privilege log is
referencing the same person, it should not be the Plaintiffs that have to make those assumptions.

Given the foregoing, Plaintiffs’ request for a key of individuals contained within the privilege log is
reasonable. Please produce one as requested.

II.      Additional Information Regarding Emails
         A.     Inclusion of Email Addresses in the From, To, CC, and BCC Fields

To further assess your claims of privilege, Plaintiffs will need a privilege log that includes the email
addresses of every individual listed in the From, To, CC, and BCC fields where the document withheld or
redacted is an email. This will help Plaintiffs evaluate your assertion of privilege and determine if the
presence of a third‐party in the email transmission constitutes a waiver of privilege. Indeed, from a
review of only certain redacted documents, it appears that your privilege log contains emails in which
third parties were present on the email chain, thus extinguishing any claim of privilege. See, e.g.
DIRECTV‐ST‐02340509 (DIRECTV redacted an email and asserted attorney‐client privilege despite the
fact that third parties, such as margibrown@thekernorg.com, were present on the email chain); see also
In re Domestic Airline Travel Antitrust Litig., No. MC 15‐1404 (CKK), 2020 WL 3496748, at *9 (D.D.C. Feb.
25, 2020) (noting as “problematic” the situation where the privilege log “failed to identify the presence
of third parties”).
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Moreover, there are currently 8,976 entries where there is nothing input in the “from” field. Of those
entries, there are 8,894 with nothing in the “to” field. In other words, DIRECTV is claiming privilege over
documents that do not appear to be transmitted to anyone, so it is not clear how DIRECTV can assert
attorney‐client privilege over a substantial portion of these documents. It is not clear whether all of these
documents are emails or whether they are loose documents that existed in a folder, or documents that
were attachments to those emails. Please produce these documents or amend your privilege log to input
the proper information in the “from” and “to” fields. In the case that such documents are loose
documents or email attachments, Plaintiffs request further information as outlined in Section III.

          B.     Email Subject Lines

DIRECTV’s vague descriptions for their privilege log entries do not contain enough information to allow
Plaintiffs to consider the privilege claim. Plaintiffs request DIRECTV supply the email subject line for each
email entry contained within the privilege log. Most of the emails contained within DIRECTV’s privilege
log only include an attorney in the “cc” line, after a host of other recipients are included throughout the
email, calling into question whether the email is privileged at all. Providing the email subject line will
allow Plaintiffs to understand the context of the withheld email and determine whether DIRECTV
properly withheld entire email.

          C.     Improperly Logged Email Strings

DIRECTV’s privilege log references hundreds of emails that are a part of email strings. See, e.g., DIRECTV‐
PRIV‐0000080. But DIRECTV appears to have logged information about the most recent email in each
string where there are no redactions, but did not appear to log information related to the underlying
email where the redactions exist. See, e.g., DIRECTV‐PRIV‐0000080 (logging details about the most
recent email sent on August 2, 2014 which contained no redactions, but redacting an earlier email in the
thread from August 1, 2014); DIRECTV‐PRIV‐0006739 (logging details about the most recent email sent
on September 22, 2016 which contained no redactions, but redacting the earlier email in the thread sent
on September 14, 2016).

Please explain how DIRECTV logged email threads and produce an amended log that properly logs each
separate email that is redacted or withheld.

III.      Additional Fields in Privilege Log for Attachments and Loose Documents

Plaintiffs request that DIRECTV distinguish where a document is an email, attachment, or loose
document and provide corresponding information about the attachments and loose documents, such as
the document title, author information, recipient information, the date that an attachment or loose

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document was created,4 and the basis for withholding the document, so that Plaintiffs may properly
evaluate DIRECTV’s privilege claim. See United States v. City of Hesperia, 2021 WL 5034381, at *6 (C.D.
Cal. June 17, 2021) (“attachments to privileged emails are not themselves privileged simply by
association”) (citing O’Connor v. Boeing N. Am., Inc., 185 F.R.D. 272, 280 (C.D. Cal. 1999)). The lack of
such information suggests that an attorney was not directly involved in some or all of the withheld
documents, making DIRECTV’s assertion of privilege over these documents impossible to evaluate.

IV.      Entries That Contain Third Parties or Zero Attorneys in the “To” or “From”

There appear to be several communications improperly withheld as attorney‐client privileged despite
the fact that the entries include known third parties, such as Hans Schroeder (Executive Vice President
and Chief Operating Officer, NFL Media), Brian Rolapp (Chief Media and Business Officer, NFL), Brent
Lawton (Vice President, Media Strategy and Business Development, NFL), Paul Tagliabue (Former
Commissioner, NFL), Kevin LaForce (Senior Vice President, Media Strategy and Business Development,
NFL), and perhaps many others. See, e.g., DIRECTV‐PRIV‐0000004; DIRECTV‐PRIV‐0000005; DIRECTV‐
PRIV‐0000108; DIRECTV‐PRIV‐0000124; DIRECTV‐PRIV‐0026212; see also Regents of University of
California v. Affymetrix, Inc., 326 F.R.D. 275, 282 (S.D.Cal. 2018) (“Attorney‐client communications
‘made in the presence of, or shared with, third‐parties destroys the confidentiality of the
communications and the privilege protection that is dependent upon that confidentiality.’”) (quoting
Nidec Corp. v. Victor Co. of Japan, 249 F.R.D. 575, 578 (N.D. Cal. 2007) (citation omitted)).

More egregiously, Plaintiffs’ review determined that there are over 20,000 entries in which no attorney5
was present in either the “from” or “to” fields. Not only are DIRECTV’s general descriptions deficient, as
discussed in Section V, but DIRECTV’s assertion of privilege over this category of documents are
questionable and subject to greater scrutiny. See, Willis v. Vasquez, 2012 WL 12882386, at *2 (C.D. Cal.
June 19, 2012) (overruling objections based on attorney‐client privilege where “[n]o attorney made or
received any of the communications [in the documents].”); see also NXIVM Corp. v. O’Hara, 241 F.R.D.
109 (S.D.N.Y. 2007) (“[T]he extension of the privilege to non‐lawyer’s communication is to be narrowly
construed.”).




4
  Furthermore, the date field in DIRECTV’s privilege log does not distinguish between date sent, in terms of email
transmission, and date a document was created. That is a crucial difference Plaintiffs need to understand to properly assess
DIRECTV’s assertion of privilege. For example, a document may have been sent as an attachment in 2020, but if the
document was created in 2009, it may call in to question the purpose of that document and the broader implications for
DIRECTV’s privilege claim. See, e.g., Urb. 8 Fox Lake Corp. v. Nationwide Affordable Hous. Fund 4, LLC, 334 F.R.D. 149, 157
(N.D. Ill. 2020) (“Plaintiffs are supposed to be able to ‘assess the claim’ of privilege based on the defendants’ privilege log,
but without any dates for when documents were created, that’s virtually impossible.”) (citing Fed. R. Civ. P. 26(b)(5)(A)(ii)).

5
 As referenced in Section I, Plaintiffs have serious concerns that DIRECTV misrepresented who the attorneys were
throughout the privilege log.
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Furthermore, there appear to be 1,074 entries an attorney is merely “cc’d” on an email, but where
there is no attorney in the “to” and “from” columns. It is unlikely that these documents are privileged
considering that the dominant purpose of those communications do not appear to be for the provision
of legal advice. See Federal Industries Inc. v. Cameron Technologies US Inc., 2009 WL 10670395, at *3
(C.D. Cal. Jan. 30, 2009).

Please produce documents that contain third parties, that do not contain attorneys in the “from” or
“to” column, and those that only contain attorneys in the “cc” column, or otherwise provide an
amended privilege log so Plaintiffs may adequately assess the basis for withholding such documents.

V.      Vague and Insufficient Descriptions
        A.    Descriptions in the “Privilege Basis” Field are Inadequate

The descriptions offered by DIRECTV are presumably intended to describe the facts establishing the
asserted privilege(s). Indeed, parties asserting privilege are required to “describe the nature of the
documents, communications, or tangible things not produced or disclosed‐‐and do so in a manner that,
. . . will enable other parties to assess the claim.” Fed. R. Civ. P. 26(b)(5).

Plaintiffs, however, have yet to identify even a single description in the “privilege basis” that is facially
sufficient. The vast majority of the withheld documents assert privilege over the provision of advice on
matters within DIRECTV’s ordinary course of business, such as advice “regarding agreement terms,”
“regarding video game,” “regarding pricing strategy,” “regarding negotiation of agreement or terms,”
“regarding draft agreement,” and “regarding business operations under agreements.” Such vague
descriptions of ordinary business matters are insufficient to establish the privilege. See Johnson v. Ford
Motor Co., 309 F.R.D. 226, 233 (S.D.W. Va. 2015). Indeed, courts have found more descriptive privilege
justifications for business matters to be insufficient.” See, e.g., RBS Citizens, N.A. v. Husain, 291 F.R.D.
209, 218 (N.D. Ill. 2013) (finding insufficient the following description: “Document containing non‐
responsive and privileged analysis re loan facilities including NBB based in part on and reflecting advice
of counsel”).

Please amend your privilege log to adequately describe the facts establishing your privilege claims.

        B.     Insufficient Descriptions for Documents Not Containing an Attorney in the Description

Furthermore, there are over 11,000 entries that do not include an attorney’s name in the “privilege
basis” field. Instead, a vast majority of these entries contain descriptions such as “legal advice from AT&T
Legal Department,” “legal advice from outside counsel HBO Legal Department,” “DIRECTV Legal
Department,” or “in‐house counsel Sony Legal Department.” Based on these descriptions, it is difficult
to understand the basis for attorney‐client privilege since Plaintiffs cannot discern the attorney involved

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in the document you are withholding and because “in‐house attorneys can serve multiple functions
within the corporation.” See United States v. ChevronTexaco Corp., 241 F. Supp. 2d 1065, 1076 (N.D. Cal.
2002). Furthermore, your descriptions create confusion because it is not clear how the HBO Legal
Department functions as outside counsel to DIRECTV (see, e.g., DIRECTV‐PRIV‐0012082), or how the Sony
Legal Department functions as in‐house counsel (see, e.g., DIRECTV‐PRIV‐0017082).

Please produce these documents or amend your privilege log to specify the attorney giving rise to the
attorney‐client privilege.

         C.      Common Interest

There are 772 entries for which you claim “common interest” privilege as a basis for withholding or
redacting documents. Indeed, common interest privilege is a narrow “‘exception to ordinary waiver rules
designed to allow attorneys for different clients pursuing a common legal strategy to communicate with
each other.’” Harris v. Lang Pharma Nutrition, Inc., 2015 WL 12832093, at *1 (C.D. Cal. May 22, 2015)
(quoting Pacific Pictures Corp. v. United States District Court, 679 F.3d 1121, 1129 (9th Cir. 2012)). The
parties “must share a common interest in litigation[,]” Thunder Studios, Inc. v. Kazal, 2018 WL 11346848,
at *5 (C.D. Cal., Oct. 23, 2018), and must have an agreement “founded on a common legal, as opposed
to commercial, interest.” Id. (internal quotations omitted).

Your current descriptions in the privilege basis field do not provide Plaintiffs with adequate information
to properly evaluate your assertions of common interest privilege. Please amend your privilege log for
any entry where you assert “common interest” privilege to clarify: a) the parties involved in the joint
legal effort, and b) the common legal interest involved.

VI.      Other

Finally, we have identified the following documents that you claim are redacted but for which there are
no corresponding bates numbers:

                             DIRECTV‐PRIV‐0000453       DIRECTV‐PRIV‐0010667
                             DIRECTV‐PRIV‐0003556       DIRECTV‐PRIV‐0010781
                             DIRECTV‐PRIV‐0005383       DIRECTV‐PRIV‐0010795
                             DIRECTV‐PRIV‐0006166       DIRECTV‐PRIV‐0011751
                             DIRECTV‐PRIV‐0006492       DIRECTV‐PRIV‐0012948
                             DIRECTV‐PRIV‐0006494       DIRECTV‐PRIV‐0012949
                             DIRECTV‐PRIV‐0006495       DIRECTV‐PRIV‐0016296
                             DIRECTV‐PRIV‐0006496       DIRECTV‐PRIV‐0016723

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                             DIRECTV‐PRIV‐0006497       DIRECTV‐PRIV‐0016874
                             DIRECTV‐PRIV‐0006502       DIRECTV‐PRIV‐0022335
                             DIRECTV‐PRIV‐0006503       DIRECTV‐PRIV‐0024769
                             DIRECTV‐PRIV‐0006504       DIRECTV‐PRIV‐0025682
                             DIRECTV‐PRIV‐0006505       DIRECTV‐PRIV‐0026648
                             DIRECTV‐PRIV‐0010349       DIRECTV‐PRIV‐0026934
                             DIRECTV‐PRIV‐0026935

Please confirm if these documents have been produced to Plaintiffs in redacted form and provide the
corresponding bates numbers.

For the avoidance of doubt, the issues raised in this letter should not be construed to waive Plaintiffs’
rights to challenge any entry, on any ground, found in DIRECTV’s privilege log. We look forward to solving
these issues with you; if necessary, however, Plaintiffs will seek the Court’s assistance to resolve these
concerns.

                                                                    Sincerely,
                                                                    /s/ Farhad Mirzadeh
                                                                    Farhad Mirzadeh

cc: Counsel of Record




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